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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                             *               CRIMINAL NO. 06-353

VERSUS                                               *               SECTION: “K”

BRAD MARTIN                                          *

                                              *      *       *


                                             ORDER


       Considering the foregoing Motion by the United States;

       IT IS HEREBY ORDERED that, pursuant to U.S.S.G. § 3E1.1(b), the downward

adjustment for thisThis
            Hello  defendant’s
                        is a Testacceptance of responsibility should be 3 points.
       New Orleans, Louisiana, this 18th          September
                                    ____ day of ________________, 2007.




                                                  UNITED STATES DISTRICT JUDGE
